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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

v.                                          Case No. 4:14cr65-MW/GRJ-5

PHILLIP WALKER III,

          Defendant/Petitioner,
___________________________/

                        ORDER ACCEPTING AND ADOPTING
                         REPORT AND RECOMMENDATION

       This Court has considered, without hearing, the Magistrate Judge's Report

and Recommendation. ECF No. 255. Upon consideration, no objections having

been filed by the parties,

       IT IS ORDERED:

       The report and recommendation is accepted and adopted as this Court’s

opinion. The Clerk shall enter judgment stating, “The Motion Under 28 U.S.C. §

2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody,

ECF No. 209, is DENIED. A Certificate of Appealability is DENIED.” The Clerk

shall close the file.

       SO ORDERED on March 27, 2018.

                                      s/Mark E. Walker          ____
                                      United States District Judge
